                 21-22696-shl                Doc 6-2             Filed 01/04/22 Entered 01/04/22 15:30:50                                 Schedule E-F
   Fill in this information to identify the case:                             Pg 1 of 7

   Debtor            Hello Living Developer Nostrand LLC
                    __________________________________________________________________

                                           Southern
   United States Bankruptcy Court for the: ______________________             NY
                                                                  District of __________
                                                                                              (State)
   Case number       21-22696 (SHL)
                     ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
     Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   7
                                                                                                                                                       page 1 of ___
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                   Hello Living Developer Nostrand LLC
                                                                                                            Schedule E-F
                                                                                                     21-22696 (SHL)
  Debtor          _______________________________________________________     Case number (if known)_____________________________________
                  Name                                              Pg 2 of 7
 Part 1.       Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Total claim              Priority amount



2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________
                                                                             Contingent
                                                                             Unliquidated
       ___________________________________________                           Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)


2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
                                                                             Contingent
                                                                             Unliquidated
        _________________________________________________________________

       ___________________________________________                           Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________    Contingent
       ___________________________________________
                                                                             Unliquidated
                                                                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________
       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                            As of the petition filing date, the claim is: $______________________     $_________________
                                                                            Check all that apply.
        _________________________________________________________________    Contingent
       ___________________________________________                           Unliquidated
                                                                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)




      Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        2 of ___
                                                                                                                                                                   page __     7
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                                         Nostrand   LLC01/04/22 Entered 01/04/22 15:30:50               Schedule
                                                                                                 21-22696   (SHL) E-F
  Debtor      _______________________________________________________     Case number (if known)_____________________________________
              Name                                              Pg 3 of 7
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
    Creditors with direct claims against this parent Debtor are as follows                                                 Amount of claim

3.1 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                                                                          300,000
                                                                                                                         $________________________________
      Downstate Foot and Ankle Podiatry
    ____________________________________________________________
                                                                  Contingent
     635  32nd  Street                                            Unliquidated
    ____________________________________________________________  Disputed
     Brooklyn, New York 11215
    ____________________________________________________________
                                                                         Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________       Is the claim subject to offset?
                                                                          No
    Last 4 digits of account number            ___ ___ ___ ___            Yes
3.2 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:    175,000
                                                                                                                         $________________________________
     Dr. Sumit Charia                                            Check all that apply.
    ____________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     11 Stone   Arch  Road
    ____________________________________________________________  Disputed
     Old Westbury, New York 11568
    ____________________________________________________________
                                                                         Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________       Is the claim subject to offset?
                                                                          No
    Last 4 digits of account number            ___ ___ ___ ___            Yes
3.3 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:    500,000
                                                                                                                         $________________________________
     Lazer Mechlovitz
    ____________________________________________________________
                                                                 Check all that apply.
                                                                  Contingent
     1053 Dahill Road                                                     Unliquidated
    ____________________________________________________________          Disputed
     Brooklyn, New York 11204
    ____________________________________________________________
                                                                         Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________       Is the claim subject to offset?
                                                                          No
    Last 4 digits of account number            ___ ___ ___ ___            Yes
3.4 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:    650,000
     RH Equity NY LLC                                                    Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                          Contingent
     325 Division Avenue - Unit 201                                       Unliquidated
    ____________________________________________________________          Disputed
     Brooklyn, New York 11215
    ____________________________________________________________
                                                                         Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________       Is the claim subject to offset?
                                                                          No
    Last 4 digits of account number            ___ ___ ___ ___            Yes
3.5 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
                                                                         Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                          Contingent
    ____________________________________________________________
                                                                          Unliquidated
                                                                          Disputed
    ____________________________________________________________
                                                                         Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________       Is the claim subject to offset?
                                                                          No
    Last 4 digits of account number            ___ ___ ___ ___            Yes
3.6 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
                                                                         Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                  Contingent
    ____________________________________________________________
                                                                  Unliquidated
                                                                  Disputed
    ____________________________________________________________
                                                                         Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________       Is the claim subject to offset?
                                                                          No
    Last 4 digits of account number            ___ ___ ___ ___            Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __     7
                                                                                                                                                        3 of ___
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               Hello Living Developer          Filed
                                         Nostrand   LLC01/04/22 Entered 01/04/22 15:30:50               Schedule
                                                                                                 21-22696   (SHL) E-F
  Debtor      _______________________________________________________     Case number (if known)_____________________________________
              Name                                              Pg 4 of 7
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                      Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________  Contingent
                                                                  Unliquidated
                                                                  Disputed
     ___________________________________________________________  Liquidated and neither contingent nor
     ___________________________________________________________       disputed

                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                    No
     Last 4 digits of account number         ___ ___ ___ ___        Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                    No
     Last 4 digits of account number         ___ ___ ___ ___        Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed

     ___________________________________________________________
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                    No
     Last 4 digits of account number         ___ ___ ___ ___        Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed
     ___________________________________________________________
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                    No
     Last 4 digits of account number         ___ ___ ___ ___        Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     ___________________________________________________________  Disputed
     ___________________________________________________________
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                    No
     Last 4 digits of account number         ___ ___ ___ ___        Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                               4 of ___
                                                                                                                                          page __    7
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                    Hello Living Developer Nostrand LLC
                                                                                                             Schedule E-F
                                                                                                      21-22696 (SHL)
  Debtor           _______________________________________________________     Case number (if known)_____________________________________
                   Name                                              Pg 5 of 7
Part 3:              List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                               related creditor (if any) listed?          account number, if
                                                                                                                                                          any

4.1.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

41.                                                                                                            Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.                                                                                                          Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____

                                                                                                               
         ___________________________________________________________________________________________________
                                                                                                                   Not listed. Explain ________________   ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




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                                                                                                                                                                         5 of ___
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                    Hello Living Developer Nostrand LLC
                                                                                                             Schedule E-F
                                                                                                      21-22696 (SHL)
  Debtor           _______________________________________________________     Case number (if known)_____________________________________
                   Name                                              Pg 6 of 7
 Part 3:        Additional Page for Others to Be Notified About Unsecured Claims


          Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                             related creditor (if any) listed?          account number,
                                                                                                                                                        if any
4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________




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                                                                                                                                                                      6 of ___
            21-22696-shl        Doc 6-2
              Hello Living Developer          Filed
                                        Nostrand   LLC01/04/22 Entered 01/04/22 15:30:50               Schedule
                                                                                                21-22696   (SHL) E-F
 Debtor      _______________________________________________________     Case number (if known)_____________________________________
             Name                                              Pg 7 of 7
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                      Total of claim amounts



5a. Total claims from Part 1                                                               5a.        $_____________________________




5b. Total claims from Part 2                                                               5b.   +     1,625,000
                                                                                                      $_____________________________




5c. Total of Parts 1 and 2
                                                                                           5c.
                                                                                                       1,625,000
                                                                                                      $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                  page __ of ___
